MANDATE
                     Case 19-2221, Document 24, 08/21/2019, 2637838, Page1 of 1
                                                                                             N.Y.S.D. Case #
                                                                                             19-cr-0490(RMB)

                                  UNITED STATES COURT OF APPEALS
                                                FOR THE
                                           SECOND CIRCUIT
                              ____________________________________________

              At a Stated Term of the United States Court of Appeals for the Second Circuit, held at
     the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on
     the 21st day of August, two thousand and nineteen,

     ____________________________________

     United States of America,                                 ORDER
                                                                                                    Aug 21 2019
                                                               Docket No. 19-2221
     lllllllllllllllllllllAppellee,

     v.

     Jeffrey Epstein, AKA Sealed defendant 1,

     lllllllllllllllllllllDefendant - Appellant.
     _______________________________________

            The parties in the above-referenced case have filed a stipulation withdrawing this appeal
     pursuant to FRAP 42.

             The stipulation is hereby "So Ordered".




                                                          For The Court:
                                                          Catherine O'Hagan Wolfe,
                                                          Clerk of Court




MANDATE ISSUED ON 08/21/2019
